Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 1 of 24

EXHIBIT 1
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 2 of 24

RECORDING AGREEMENT

AGREEMENT made and entered into by and between SKYYWALKER
RECORDS, INC. 3050 BISCAYNE BLVD., SUITE 307, MIAMI, FL. 33137
(hereinafter referred to as "Company" )LUTHER CAMPBELL, DAVID HOBBS,
CHRIS WONG WON, MARQUIS ROSS p/k/a (2 LIVE CREW), 1550 N.E. 125TH

TERRACE, MIAMI, FL. 33161 (hereinafter referred to as "Artist"),

1. ENGAGEMENT

Company hereby engages the exclusive sarvices of
Artist in connection with the production of phonograph records upon
the terms and conditions herein contained; and Artist hereby accepts
such engagement and agrees to render such services exclusively to
Company for an initial period commencing on January 1, 1987 and
ending December 31, 1987. Company will have three (3) separate
options to extend that term for additional Contract Periods ("Option
Periods') on the game terms and conditions. Company will have the
right to exercise each of those options by seriding Artist a notice
at any time before the expiration date of the Contract Period which
is then in effect (the "Current Contract Period"). IF Company
exercises such an option, the Option Period concerned will begin

immediately after the end of the current Contract Period.

2. RECORDING COMMITMENT

(a) During each Contract Period, Artist will
perform for the recording of the number of Master Recordings

indicated below (the "Minimum Recording Commitment"):
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 3 of 24

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(1) During the first Contract Period the
Minimum Recording Commitment will be Master Recordings sufficient to
constitute two (2) Sides (the "First Sides"):

(2) During each Option Period the Minimum
Recording Commitment will be Master Recordings sufficient to
constitute one(1) Album;

(i) The Minimum Recording Commitment for
each Contract Period will be fulfilled within the first three (3)
months of the Period concerned.

(b) During each Contract Period hereunder, Company
will have the following options ("Over-call Options") to increase
the Recording Commitment for the Period concerned by the number of
Master Recordings set forth below ("Over-call Recordings"). Each
Over-call Option may be exercised by Company by sending Artist a
notice at any time before the end of the Contract Period concerned.

(1) During the first Contract Period Company
will have the following three (3) separate Over-call Options.

(i) For Over-call Recordings sufficient
to constitute two (2) additional Sides.

(ii) For Over-call Recordings, which
together with the First Sides and two (2) additional Sides referred
to in 2 (b) (1) (i) above, will be sufficient to constitute one (1)
Album; and

(iii) For Over-call Recordings sufficient
to constitute one (1) additional Album.

(2) During each Contract Period Company will have
an Over-call Option to increase the Recording Commitment for that

Period by Over-call Recordings sufficient to constitute one (1)

additional Album.
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 4 of 24

(c) Each time Company exercises any such Over-call

Option hereunder:

(1) The Over-cal1 Recordings will be Delivered
to company within three (3) months; and

(2) The current Contract period will continue
for nine (9) months after the date of Completion of the lacquer,
copper, or equivalent masters to be used in manufacturing the disc
Phonograph Record units derived from the Over-call Recordings
concerned;

(d) Company shall own all master recordings
embodying the performance of Artist made hereunder and all
derivatives of the same; and Company shall further Own all of the
performances of Artist embodied in said master recordings and
derivatives thereof. Without limiting the generality of the
forgoing, Company's said rights of Ownership shall include the sole
and exclusive right to manufacture, advertise, sell, lease, license
or otherwise use, deal in or dispose of records embodying the
performances of Artist to be recorded hereunder in all fields of use
perpetually and throughout the world and upon terms and conditions
as Company may approve; and the sole and exclusive right publicly to
perform Artists performances embodied in recordings hereunder by
means of radio broadcasting or otherwise and to license and
authorize others to do so perpetually and throughout the world upon
such terms and conditions as Company may approve. All master
recordings recorded during the term here of and all derivatives
manufactured therefrom, together with the performances embodied
thereof shall from the inception of their creation, be entirely and

forever the
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 5 of 24

property of the Company, or its designee free from any claims
whatsoever by Artist or any person, firm or corporation deriving any
rights or interests from Artist; and company shall have the right to
assign and otherwise transfer such copyrights to any third party,
free and clear of any Claim by Artist or any person, firm or

corporation, deriving any rights from Artist.

3. GRANT OF RIGHTS

Artist hereby grants to Company the sole and
exclusive right during the initial term of this Agreement and all
renewals and extensions of the Same to use, publish and permit
others to use and publish, and licenses and authorize the use of
Artists name, including any professional name, likeness, signature
and biographical data about Artist on and in connection with the
manufacture, advertising, sale, lease and other exploitation in all
fields of use throughout the world, of records, as the same are now
Known or hereafter devised or improve, including audiovisual
devices, record products and other products and services of Company
and Company's licensees, upon such terms and conditions as Company
may approve. However, the above mentioned grant of rights shall not
include merchandising rights and said right shall be nonexclusive
after the term of this agreement and shall continue thereafter in

perpetuity.

4. RECORDING PROCEDURE

(a) Artist shall report to recording sessions
at the same times and places that Company designates by Notice to
Artist. Artist agrees to record such musical materials as company

~4—
24
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 6 of

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selects; and if Tequested to do so, Artist shall re-record any such
"material" until a commercially Satisfactory master recording
thereof is accepted by the Company. It is understood that Artist
may submit

original material for consideration by Company on each Album
recording project hereunder; however, Company's decision as to
musical compositions used shall be final.

(b) No "live" Recording or Recording not made in
full compliance with the provisions of this Agreement will apply in
fulfillment or your Recording Commitment, nor will Company be
required to make any payments in connection with any such Recording,
unless Company agrees in writing or such Recording is actually
released by Company. No Joint Recording will apply in fulfillment
of your Recording Commitment, nor will Company be required to make
any payments in connection with any such Joint Recording other than
royalties due you hereunder, even if such Joint Recording is
actually released by Company. No Recordings shall be made by
unauthorized dubbing.

(c) Nothing in this Agreement shall obligate
Company to continue or permit the continuation of any recording
session or project, even if previously approved hereunder, if
Company reasonably anticipates that the Recording Costs will exceed
those specified in the approved budget or that the Recordings being
produced will not be satisfactory.

(d) Each Master Recording made hereunder shall be
subject to our approval as commercially and technically satisfactory
for the manufacture and sale of Phonograph Records by us or our

~5-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 7 of 24

Licensees. Upon Company's request, you shall re-record any
Composition until a satisfactory Master Recording shall have been
obtained. We shall edit, sequence, and leader multi-tract master
tapes for Master Records hereunder. Ali work parts of whatever
nature (including, without limitation, out-tapes or other tracks
recorded during the Term) shall be delivered to Company promptly
upon your completion.
(5) costs

Company, or at its election for its Licensee,
shall be responsible for, and shall pay when due, all Recording
Costs with respect to the Master Recordings, including, without
limitation, any and all fees payable at any time to any and all
persons connected with the recording (including, without limitation,
any and all instrumentalists, leaders contractors, arrangers,
copyists, vocalists and producers), costs of transportation,
accommodations and sustenance, tape costs, studio rentals, costs of
cartage and instrument hire, pension and welfare payment, any
editing and mastering costs, payroll taxes and any and all other
costs and expenses customarily treated as recordings costs in the
recording industry. All such payments shall be in accordance with
the requirements of any appropriate unions with which Company may at
any time have an agreement lawfully conferring jurisdiction of the
recording of such Master Recordings. We shall also be solely
responsible for and shall bay any and all sales, use or similar
taxes which may be imposed by any taxing jurisdiction as a result of
recording for us of any or all of the Master Recordings. Said

~6-
24
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 8 of

recording costs shall be recoupable from royalties due and owing

Artist according to Paragraph 6.

6. COMPENSATION, ROYALTIES

(a) As payment in full for Artists services
hereunder, Company agrees to pay Artist within fourteen (14) days
after services have been rendered, applicable minimum union scale
for each Master Recording hereunder accepted by Company as
commercially Satisfactory for manufacture and sale. It is
understood and agreed that Company shall determine in it sole
business judgment and discretion whether any Master Recording
hereunder is commercially acceptable or Satisfactory. However,
company shall not be unreasonable in it judgment and discretion.

(b) Notwithstanding anything to the contrary
in this Agreement, the royalty rates herein shall be calculated upon
the same basis and Subject to the same royalty reductions and
reserve policies as we are subject to pursuant to our Agreements
with Licensees as we may from time to time be affiliated, including,
but not limited to, tax and Container Charges and such royalty
reductions as may be related to among others, foreign sales,
promotional records, budget records, records combining Master
recorded hereunder with those which are not, Masters licensed on a
flat fee basis, records sold to governmental agencies or libraries.
Company will adjust your royalty rate pro rata and compute our
royalty or payment in the Same manner as a licensee adjusts the
royaity rate and computes the royalty or payment to Company for such

tapes and records.
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 9 of 24

(c) Conditioned upon the Artists full and faithful
performance to the best of its ability of each and all of the terms
hereof, Company shall pay to Artist in respect of the sale of

Phonograph Records embodying, only the Master Recordings, the basic

(i) In respect of any Records sold by us
or our Licensees through Normal Retail Channels in the United
States, a royalty of either: (a) On Albums, 12% and (b) on "Single"
records, 10% and (c) 8% on videograms, of the Whole Sale Price of
records sold from time to time by companies distributors, except

that in the event of sales by our Licensees in the United States of

upon the (Wholesale Price) of the comparable disc device in the
United States.

(ii) In the event of the sale of Records
outside the United States, the royalty rate payable hereunder shall
be (50%) of the rate times the Royalty Base Price provided in 6 b
(i) and such Royalty Base Price shall be based upon the suggested
retail price of such Records in the Country of sale. Such royalties
shall be computed in the national currency of the Country to which
the price so selected applies and shall be credited to your royalty
account hereunder at the Same rate of exchange as Company is paid,
and shall be proportionately subject to any and all taxes, charges
or credits which may be imposed upon Company's receipts.

~3-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 10 of 24

(c) Notwithstanding any of the forgoing, the
royalty on records sold in the United States through any Club
Operation, shall: be either at the rate of one-half (1/2) of the
royalty provided for in (a) above, based upon the average net price
to the Club members of purchases, of Fifty percent (50%) the net
royalty which Company shall receive from its Licensee distributing
such records, whichever shall be less, and the royalty rate on
Records sold outside the United States through any Club Operation
shall be one-half (1/2) of the royalty rate provided for in (b)
above based upon the average net price to the Club members or
purchasers.

(ad) Company or its Licensees shall have right to
sell records under any sales or merchandising plan or team we or
they may at any time deem desirable. Notwithstanding anything to
the contrary contained in this Agreement, no royalties shall be
Payable on Records furnished as free or bonus records to members,
applicants or other participants in any Club Operation; on Records
distributed for promotional or advertising purposes to disc jockeys
of any kind, radio stations, television stations or networks,
television production companies, motion picture companies,
publishers, record reviewers, or other customary recipients of
promotional records or as special audio products of any kind; on
Records returned for credit by any buyer; on so-called "sampler"
albums; on Records sold for scrap or as "cut-outs"); on Records
distributed on a no-charge basis to distributors, sub-distributors,
dealers or other (whether or not intended for resale or actually

resold); and on Records given away gratis or sold to any party as
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 11 of 24

overstock or at less than of the regular wholesale price, whether
for sales incentive purposes, in connection with special sales of
merchandising sales Plans, or otherwise. All records not sold to a
third party by us or Company's Licensees, directly or indirectly,
shall be presumed, for purposes of computing and paying royalties
hereunder, to have been distributed on a no-charge basis. Without
limiting the generality of the forgoing, it is hereby explicitly
agreed that "free goods" shall be royalty free records regardless of
whether such "free goods" are given by or to Company's Licensees as
actual "free goods" or converted into an additional discount; and
Similarly, in the event Records are sold by or to such Licensee ata
discount from the usual gross price for such Records instead of
Giving "free goods", the provisions of the following sentence shall
apply, regardless of whether such additional discount is applied to
Sales or converted into "free goods".

(e) The royalty rate on Records sold to the United
States Government, it's subdivision, departments and agencies
(including, without limitation, Records sold for resale through
military facilities) shall be one-half (1/2) of the otherwise
applicable royalty rate and shall be based upon the net amount
actually received by Company in respect thereof. The royalty rate
on Records sold as 'EP Records on a mid-priced label or for use as
premiums, or promotional merchandise, or as Special audiophile
products of any kind, or sold as a Budget Record, Reissue Label or
on a low-priced label shall be of the otherwise applicable royalty
provided for above and shall be based upon the average applicable
wholesale selling price charged from time to time to the Licensees
in each Country which is selling each such record. Notwithstanding
any provision to the contrary

-10-
4
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 12 of 2

herein contained, and without limiting any of Company's rights
hereunder, Company shall have the right to license any Master
Recording hereunder for use in any Country(ies) in compilation
albums of any kind (including, without limitation, albums of the
so-called "K-tel" type), and in the event of any such license,
Company shall credit to your royalty account, in lieu of any royalty
to which you might otherwise be entitled hereunder in respect of
such use, 50% of any royalty actually received by Company from each
Licensee with respect to each such licensed Master Recording.

(f) Notwithstanding anything to the contrary
contained in Article 6:

(i) Records released by Company or its
Licensees in the form of So-called "Giant Singles" or
EPS" shall be treated for all purposes hereunder as if they were
normal seven-inch 45 RPM Single records and the royalty for each
such record shall be the otherwise applicable royalty payable with
respect to a seven inch 45 RPM single record of customary price
actually charged for such single Records from time to time to
Licensees selling each such Record in each Country where such
Records are sold:

(ii) For purposes of computing royalties
hereunder, there shall be deducted from any price upon which
royalties are calculated hereunder (including, without limitation,
the Wholesale Price and/or the suggested retail list price of any
Phonograph Record hereunder) an amount equal to the aggregate of any
payments pursuant to collective bargaining agreements of any kind

and any excise, sales, value added or comparable or similar taxes;

-~l1-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 13 of 24

(iii) For purposes of computing royalties,
there shall be deducted, a Container Charge, from any price upon
which royalties are calculated hereunder (including, without
limitation, the Wholesale Price and/or the suggested retail list
price of any Phonograph Record hereunder. Said container charge
Shall not exceed 10% on Singles and single fold L.P.'S and shall not

exceed 20% on Double Jacket L.P.'S and cassette tapes.

7. ACCOUNTING

Accounting as to royalties payable hereunder
shall be made by Company to Artist no less than semiannually
together with payment of royalties, if any, earned by Artist during
the preceding semiannual period. Statements rendered by Company to
Artist shall be binding upon Artist. Artist shall have the right to
appoint a certified public accountant or attorney to inspect the
books and records of Company insofar as the same pertain to the
subject matter of this Agreement; provided, however, that such
inspection shall take place only upon reasonable notice, not more
frequently than semiannual in any calendar year during which Artist
received a statement, and at the sole expense of Artist. You shall
be deemed to have consented to all royalty statements and all other
accounting rendered by us hereunder and each such royalty statement
or other accounting shall be conclusive, final and binding, shall
constitute an account stated, and shall not be subject to any
objection for any reason whatsoever unless specific objection in
writing, stating the basis thereof, is given by you to us within one

(1) year after the date rendered. No action, suit, or proceeding of

-~-12~-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 14 of 24

any nature in respect to any royalty statement or other accounting
rendered by us hereunder may be maintained against us unless such
action suit, or proceeding is commenced against us in a Court of

competent jurisdiction within two (2) years after the date rendered.

8. LICENSES FOR COMPOSITIONS

(a) (1) You will obtain at Company's expense
and election, and for Company's benefit, when appropriate, at
Company requests, mechanical licenses covering Controlled
Compositions embodied on the Master Recording at a Payment rate no
greater than the royalty rate equal to the minimum compulsory
license rate applicable under the copyright law of the country
concerned at the time or release; or if there is no minimum
compulsory license rate applicable in a particular country, at the
lowest prevalent rate being paid to mechanical copyright owners at
the time of release in the country concerned for Compositions of
comparable length which are performed by other artists who have
attained Records Sales comparable to sales by Artist in the country
concerned. You grant Company an irrevocable license, under
copyright, to reproduce each Controlled Composition on Phonograph
Records and distribute them in the Territory.

(2) For that license, notwithstanding the
forgoing, Company will pay mechanical Royalties of three-fourths of
the minimum statutory rate then in effect per Composition which has
not yet been recorded for Records sold in the United States and

Canada, on the basis of Net Sales. The Mechanical Royalty on any

-13-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 15 of 24

Record sold through a Club Operation will be the amount fixed in the
preceding sentence. If the Composition is an arranged version of
public domain work, the Mechanical Royalty on it will be half of the
amount fixed in the first sentence. No Mechanical Royalties will be
Payable for any Records described in Paragraph d.

(b) The total Mechanical Royalty for all
Compositions on any Album, including Controlled Compositions, will
be limited to the number of Compositions on each album times the
amount which would be Payable on it under Section 8 (a) (2). The
total Mechanical Royalty on any "single" Record will be limited to
twice that amount.

(c) Company or its Licensees will compute
Mechanical Royalties on Controlled Compositions as of the end of
each calendar semiannual period for that calendar half. By the next
September 1, and March 1, Company or its Licensees in the United
States and Canada will send a statement covering those royalties and
will pay any net royalties which are due. Company or its Licensees
in the United States and Canada will not be required to send a
statement for any period in which there are no sales or returns.
Mechanical Royalty reserves maintained by Company against
anticipated returns and credits will not be held for an unreasonable
period of time; retention of a reserve for two years after it is
established will not be considered unreasonable in any case. If the
Record consisting of Master Recordings made under this Agreement
(including Mechanical Royalties for Compositions which are not

Controlled Compositions) is higher than the limit fixed for that

~-14-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 16 of 24

Record under Subparagraph 8(b), that excess amount will be
considered as overpayment also and will be deducted from royalties.
(d) If the copyright in any Controlled
Composition is owned or controlled by anyone else, you will cause
that Person to grant Company the same rights described in Paragraphs
8 (a) and 8 (d), on the same terms. If the copyright in any
Controlled Composition is transferred, the transfer will be made

subject to this Agreement.

9. WARRANTIES, REPRESENTATIONS; RESTRICTIONS;

INDEMNITIES

(a) You have the right and power to enter into
and fully perform this Agreement.

(b) To the best of your knowledge information
and belief each Person who rendered any service in connection with,
or who otherwise contributed in any way to the making of the
Masters, or who granted to you your rights referred to in this
Agreement, had the full right, power and authority to do So, and was
not bound by any Agreement which would restrict such Person from
rendering such services or granting such rights.

(c) You are or will become and will remain to
the extent necessary to enable the performance of this Agreement, a
member in good standing of all labor unions or guilds, membership in
which may be lawfully required for the performance of your services

hereunder.

~15-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 17 of 24

(d) No Materials, as hereinafter defined, or
any use thereof, will violate any law or infringe upon or violate
the rights of any Person. "Materials", as used in this Article,
means: (1) all Controlled Compositions, (2) each name legally and
professionally used by you in connection with Recordings made
hereunder or otherwise, and (3) all other musical, dramatic,
artistic and literary materials, ideas, and other intellectual
properties, furnished or selected by you and contained in or used in
connection with any Recordings made hereunder or the packaging,
Sale, distribution, advertising, publicizing or other exploitation

thereof.

(e) You will and we will at all times
indemnify and hold harmless the other and any Licensee from and
against any and all Claims, damages, liabilities, costs and
expenses, including legal expenses and reasonable counsel fees,
arising out of any breach by the other of any warranty or agreement
made herein. The breaching Party will reimburse the other and/or
its Licensee on demand for any payment made at any time after the
date hereof in respect of any liability or claim in respect or which
the non~breaching Party or Licensees are entitled to be indemnified.

(£) During the term of this Agreement, the
Artist will not enter into any agreement which would interfere with
the full and prompt performance of their obligations hereunder, and
the Artist will, not perform or render any services for the purposes

of making Phonograph Records of Master Recordings derived from the

~16-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 18 of 24

Artists performances for any reason whatsoever, the Artist will not
perform any Composition which shall have been Recorded hereinunder
for any Person other than Company for the purpose of making
Phonograph Recordings prior to following dates whichever shall be
later: (1) Within five (5) years following the termination of this
agreement (2) Within five (5) years following the release of the
last Master recorded hereunder. The Artist shall not authorize or
knowingly permit Artists performances to be Recorded without an
express written agreement prohibiting the use of such Recording on
Phonograph Records in violation of the forgoing restrictions.

(g) If the Artist shall become aware of any
unauthorized Recordings, manufacture, distribution or Sale by any
third party contrary to the forgoing re-recording restrictions,
Artist shall notify Company thereof and shall cooperate with Company
in the event that Company commences any action or proceedings
against such third party.

(h) The services of the Artist are unique and
extraordinary, and the loss thereof cannot be adequately compensated
in damages, and Company shall be entitled to injunctive relief to
enforce the provisions of this Agreement.

(i) Artist recognizes that the sale of
Records is speculative and agrees that Company and Licensee's
judgment with regard to any manner affecting the sale, distribution
and/or exploitation of such records shall be binding and conclusive
upon Artist. Except as specifically provided to the contrary,

nothing contained in this Agreement shall obligate Company or

-17-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 19 of 24

Licensee to manufacture, release, distribute, sell and/or promote
Records reproduced from Masters recorded hereunder. Furthermore,
Company may discontinue or permit any Licensee to discontinue
without any liability to Artist the manufacture and/or sale of any
Records manufactured from Master Recordings recorded hereunder, when
in Company's or Licensee's sole discretion they are no longer
commercially Satisfactory or their future sales and manufacture
ceases to be profitable or advisable. Company shall have no
liability for any failure to request or permit completion of Artist
recording commitment hereunder unless the Artist has at all times

been ready, willing and able to perform as and when provided herein.

10. BREACH OF CONTRACT

In the event Artist breaches any provision of
this Agreement in addition to all other remedies available to
Company, it is agreed that Company shall have the right to withhold
all royalties or other monies otherwise payable to Artist hereunder
or under any other Agreement between Artist and Company or any of
Company's affiliated or subsidiary companies in an amount that will
reasonably secure Company for all damages incurred and reasonably

expected to be incurred by Company as a result of Artists breach.

11. ASSIGNMENT
Company shall have the right to assign this
Agreement or any of its rights hereunder to any person, firm or
corporation. Artist may not assign this Agreement or any of its
rights or obligations hereunder without the prior written consent of
Company.

-~18-
4
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 20 of 2

12. INDEMNITY OF ARTIST

The Company hereby undertakes to Save the
Artist harmless from and to keep the Artist fully and effectively

indemnified against all losses, Claims, damages and demands

relating to the rights of the Artist in and to the Master) arising
out of or as a consequence of any breach by the Company or by
Producers engaged by the Company contained in any agreement between

the Company, its Producers and any Third Party.

13. UNIQUE SERVICES

Company and Artist agree that Artists services
hereunder are of a special and unique character, and that the use of
the Artist performance, name and likeness in connection with the
manufacture, advertising, and marketing or records is of a value
that cannot readily be calculated in monetary terms. Artist agrees

that

~19-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 21 of 24

in the event Artist breaches any of the provisions of this
agreement, Company shall be entitled to seek injunctive relief
against Artist in addition to any other remedies available to

Company at law or in equity.

14. DEFINITIONS

For the purposes of this Agreement:

(a) "Side" means 7-inch, 45 rpm single sided
recording emboding the recorded performance of Artist and intended
for use in the manufacture and sale of phonograph records.

(b) "Single" means 7-inch, 45 rpm double sided
phonograph record embodying therein two (2) sides

(c) "L.P." means a 12-inch 33-1/3 rpm double
sided phonograph record embodying thereof the equivalent of not less
than six (6) sides and not more than ten (10) sides.

(d) "Records" "phonograph records",
"recordings", and "derivatives" means and include all forms of
recording and reproductions, now known or which may hereafter become
known, manufactured or sold primarily for home use and/or juke box
use and/or use on or in means of transportation, including, without
limiting the generality of the forgoing, magnetic recordings tape,
film, electronic video records and an other medium or devise of the
reproduction of artistic performances manufactures or solid
primarily for home and/or juke box use, and/or use on or in means of
transportation, whether embodying (i) sound alone; or (ii) sound

Synchronized with visual images, e.g. "sight and sound" devised.

-20-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 22 of 24

(e) "Wholesale Price" means the "wholesale) price
Or applicable list price, as Company is paid, by distributors in the
country of sale (exclusive of all taxes, discounts, duties and
packaging).

(£) “Composition" means a musical composition or
medley consisting of words and/or music, whether in the form of
instrumental and/or vocal music, embodies in a Side.

(g) "Union Scale" means the applicable minimum
payment required to be made to Artist under the applicable
collective bargaining agreement as may be in force from time to time
and controlling with respect to this agreement. If, at any time,
there is no such collective bargaining agreement in force, then
Union Scale shall mean the Union Scale in the collective bargaining
agreement last in effect.

(h) "Recording Cost" means ail costs incurred for
and with respect to the production of Sides embodying Artists
performances. Recording Cost include, without limitation, union
scale, the costs of all instruments, musicians, vocalist,
conductors, arranges, orchestrators, copyists, etc., payment to a
trustee or fund based on wages to the extent required by any
agreement between Company and any labor organization or trustee, all
studio costs, tape, editing, and per diem for individuals involved
in production of the Sides, rehearsal halls, costs of non-studio
facilities and equipment, dubbing, transportation or instruments,
producer's fees and other costs and expenses incurred in producing
the Sides hereunder, from time to time, and which are customarily

recognized as Recording Costs in the phonograph record industry.

-21-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 23 of 24

16. ENTIRE AGREEMENT

This agreement sets forth the entire agreement
between the parties hereto with respect to the subject matter
hereof, and no modification, termination or discharge of this
agreement or any provisions hereof shall be binding upon Company
unless confirmed by a written instrument Signed by an officer of
Company. No waiver of any provision of or default under this
agreement shall affect the right of Company thereafter to enforce
such provisions or to exercise any right or remedy in the event of
any default, whether similar or dissimilar. This agreement, it's
validity, construction and effect shall be governed by the law of
the State of Florida. The State of Florida is granted jurisdiction
of all controversies arising out of this Recording Agreement between
the parties hereto. In the event any part of this agreement is
declared to be void or unenforceable, the remainder of this
agreement shall continue in full force and effect with such void or

unenforceable part thereof deleted therefrom.

-~22-
Case 1:21-cv-23727-DPG Document 33-1 Entered on FLSD Docket 09/23/2022 Page 24 of 24

WHEREFORE, THE PARTIES HERETO HAVE EXECUTED THIS AGREEMENT ON THE

YEAR AND DATE FIRST ABOVE WRITTEN.

COMPANY:

BY:

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LUTHER CAMPBELL

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ARTIST: VO

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